Case 2:10-md-02179-CJB-DPC Document 6430-25 Filed 05/03/12 Page 1 of 144




                      EXHIBIT 11C
    Case 2:10-md-02179-CJB-DPC Document 6430-25 Filed 05/03/12 Page 2 of 144




Appendix D to Compensation Framework for
         Coastal Real Property Claims:
Eli ibl Parcel Compensation Category
Eligible                       C       M
                                       Map




                                                                               1


                                                                                   025356
Case 2:10-md-02179-CJB-DPC Document 6430-25 Filed 05/03/12 Page 3 of 144
Case 2:10-md-02179-CJB-DPC Document 6430-25 Filed 05/03/12 Page 4 of 144
Case 2:10-md-02179-CJB-DPC Document 6430-25 Filed 05/03/12 Page 5 of 144
Case 2:10-md-02179-CJB-DPC Document 6430-25 Filed 05/03/12 Page 6 of 144
Case 2:10-md-02179-CJB-DPC Document 6430-25 Filed 05/03/12 Page 7 of 144
Case 2:10-md-02179-CJB-DPC Document 6430-25 Filed 05/03/12 Page 8 of 144
Case 2:10-md-02179-CJB-DPC Document 6430-25 Filed 05/03/12 Page 9 of 144
Case 2:10-md-02179-CJB-DPC Document 6430-25 Filed 05/03/12 Page 10 of 144
Case 2:10-md-02179-CJB-DPC Document 6430-25 Filed 05/03/12 Page 11 of 144
Case 2:10-md-02179-CJB-DPC Document 6430-25 Filed 05/03/12 Page 12 of 144
Case 2:10-md-02179-CJB-DPC Document 6430-25 Filed 05/03/12 Page 13 of 144
Case 2:10-md-02179-CJB-DPC Document 6430-25 Filed 05/03/12 Page 14 of 144
Case 2:10-md-02179-CJB-DPC Document 6430-25 Filed 05/03/12 Page 15 of 144
Case 2:10-md-02179-CJB-DPC Document 6430-25 Filed 05/03/12 Page 16 of 144
Case 2:10-md-02179-CJB-DPC Document 6430-25 Filed 05/03/12 Page 17 of 144
Case 2:10-md-02179-CJB-DPC Document 6430-25 Filed 05/03/12 Page 18 of 144
Case 2:10-md-02179-CJB-DPC Document 6430-25 Filed 05/03/12 Page 19 of 144
Case 2:10-md-02179-CJB-DPC Document 6430-25 Filed 05/03/12 Page 20 of 144
Case 2:10-md-02179-CJB-DPC Document 6430-25 Filed 05/03/12 Page 21 of 144
Case 2:10-md-02179-CJB-DPC Document 6430-25 Filed 05/03/12 Page 22 of 144
Case 2:10-md-02179-CJB-DPC Document 6430-25 Filed 05/03/12 Page 23 of 144
Case 2:10-md-02179-CJB-DPC Document 6430-25 Filed 05/03/12 Page 24 of 144
Case 2:10-md-02179-CJB-DPC Document 6430-25 Filed 05/03/12 Page 25 of 144
Case 2:10-md-02179-CJB-DPC Document 6430-25 Filed 05/03/12 Page 26 of 144
Case 2:10-md-02179-CJB-DPC Document 6430-25 Filed 05/03/12 Page 27 of 144
Case 2:10-md-02179-CJB-DPC Document 6430-25 Filed 05/03/12 Page 28 of 144
Case 2:10-md-02179-CJB-DPC Document 6430-25 Filed 05/03/12 Page 29 of 144
Case 2:10-md-02179-CJB-DPC Document 6430-25 Filed 05/03/12 Page 30 of 144
Case 2:10-md-02179-CJB-DPC Document 6430-25 Filed 05/03/12 Page 31 of 144
Case 2:10-md-02179-CJB-DPC Document 6430-25 Filed 05/03/12 Page 32 of 144
Case 2:10-md-02179-CJB-DPC Document 6430-25 Filed 05/03/12 Page 33 of 144
Case 2:10-md-02179-CJB-DPC Document 6430-25 Filed 05/03/12 Page 34 of 144
Case 2:10-md-02179-CJB-DPC Document 6430-25 Filed 05/03/12 Page 35 of 144
Case 2:10-md-02179-CJB-DPC Document 6430-25 Filed 05/03/12 Page 36 of 144
Case 2:10-md-02179-CJB-DPC Document 6430-25 Filed 05/03/12 Page 37 of 144
Case 2:10-md-02179-CJB-DPC Document 6430-25 Filed 05/03/12 Page 38 of 144
Case 2:10-md-02179-CJB-DPC Document 6430-25 Filed 05/03/12 Page 39 of 144
Case 2:10-md-02179-CJB-DPC Document 6430-25 Filed 05/03/12 Page 40 of 144
Case 2:10-md-02179-CJB-DPC Document 6430-25 Filed 05/03/12 Page 41 of 144
Case 2:10-md-02179-CJB-DPC Document 6430-25 Filed 05/03/12 Page 42 of 144
Case 2:10-md-02179-CJB-DPC Document 6430-25 Filed 05/03/12 Page 43 of 144
Case 2:10-md-02179-CJB-DPC Document 6430-25 Filed 05/03/12 Page 44 of 144
Case 2:10-md-02179-CJB-DPC Document 6430-25 Filed 05/03/12 Page 45 of 144
Case 2:10-md-02179-CJB-DPC Document 6430-25 Filed 05/03/12 Page 46 of 144
Case 2:10-md-02179-CJB-DPC Document 6430-25 Filed 05/03/12 Page 47 of 144
Case 2:10-md-02179-CJB-DPC Document 6430-25 Filed 05/03/12 Page 48 of 144
Case 2:10-md-02179-CJB-DPC Document 6430-25 Filed 05/03/12 Page 49 of 144
Case 2:10-md-02179-CJB-DPC Document 6430-25 Filed 05/03/12 Page 50 of 144
Case 2:10-md-02179-CJB-DPC Document 6430-25 Filed 05/03/12 Page 51 of 144
Case 2:10-md-02179-CJB-DPC Document 6430-25 Filed 05/03/12 Page 52 of 144
Case 2:10-md-02179-CJB-DPC Document 6430-25 Filed 05/03/12 Page 53 of 144
Case 2:10-md-02179-CJB-DPC Document 6430-25 Filed 05/03/12 Page 54 of 144
Case 2:10-md-02179-CJB-DPC Document 6430-25 Filed 05/03/12 Page 55 of 144
Case 2:10-md-02179-CJB-DPC Document 6430-25 Filed 05/03/12 Page 56 of 144
Case 2:10-md-02179-CJB-DPC Document 6430-25 Filed 05/03/12 Page 57 of 144
Case 2:10-md-02179-CJB-DPC Document 6430-25 Filed 05/03/12 Page 58 of 144
Case 2:10-md-02179-CJB-DPC Document 6430-25 Filed 05/03/12 Page 59 of 144
Case 2:10-md-02179-CJB-DPC Document 6430-25 Filed 05/03/12 Page 60 of 144
Case 2:10-md-02179-CJB-DPC Document 6430-25 Filed 05/03/12 Page 61 of 144
Case 2:10-md-02179-CJB-DPC Document 6430-25 Filed 05/03/12 Page 62 of 144
Case 2:10-md-02179-CJB-DPC Document 6430-25 Filed 05/03/12 Page 63 of 144
Case 2:10-md-02179-CJB-DPC Document 6430-25 Filed 05/03/12 Page 64 of 144
Case 2:10-md-02179-CJB-DPC Document 6430-25 Filed 05/03/12 Page 65 of 144
Case 2:10-md-02179-CJB-DPC Document 6430-25 Filed 05/03/12 Page 66 of 144
Case 2:10-md-02179-CJB-DPC Document 6430-25 Filed 05/03/12 Page 67 of 144
Case 2:10-md-02179-CJB-DPC Document 6430-25 Filed 05/03/12 Page 68 of 144
Case 2:10-md-02179-CJB-DPC Document 6430-25 Filed 05/03/12 Page 69 of 144
Case 2:10-md-02179-CJB-DPC Document 6430-25 Filed 05/03/12 Page 70 of 144
Case 2:10-md-02179-CJB-DPC Document 6430-25 Filed 05/03/12 Page 71 of 144
Case 2:10-md-02179-CJB-DPC Document 6430-25 Filed 05/03/12 Page 72 of 144
Case 2:10-md-02179-CJB-DPC Document 6430-25 Filed 05/03/12 Page 73 of 144
Case 2:10-md-02179-CJB-DPC Document 6430-25 Filed 05/03/12 Page 74 of 144
Case 2:10-md-02179-CJB-DPC Document 6430-25 Filed 05/03/12 Page 75 of 144
Case 2:10-md-02179-CJB-DPC Document 6430-25 Filed 05/03/12 Page 76 of 144
Case 2:10-md-02179-CJB-DPC Document 6430-25 Filed 05/03/12 Page 77 of 144
Case 2:10-md-02179-CJB-DPC Document 6430-25 Filed 05/03/12 Page 78 of 144
Case 2:10-md-02179-CJB-DPC Document 6430-25 Filed 05/03/12 Page 79 of 144
Case 2:10-md-02179-CJB-DPC Document 6430-25 Filed 05/03/12 Page 80 of 144
Case 2:10-md-02179-CJB-DPC Document 6430-25 Filed 05/03/12 Page 81 of 144
Case 2:10-md-02179-CJB-DPC Document 6430-25 Filed 05/03/12 Page 82 of 144
Case 2:10-md-02179-CJB-DPC Document 6430-25 Filed 05/03/12 Page 83 of 144
Case 2:10-md-02179-CJB-DPC Document 6430-25 Filed 05/03/12 Page 84 of 144
Case 2:10-md-02179-CJB-DPC Document 6430-25 Filed 05/03/12 Page 85 of 144
Case 2:10-md-02179-CJB-DPC Document 6430-25 Filed 05/03/12 Page 86 of 144
Case 2:10-md-02179-CJB-DPC Document 6430-25 Filed 05/03/12 Page 87 of 144
Case 2:10-md-02179-CJB-DPC Document 6430-25 Filed 05/03/12 Page 88 of 144
Case 2:10-md-02179-CJB-DPC Document 6430-25 Filed 05/03/12 Page 89 of 144
Case 2:10-md-02179-CJB-DPC Document 6430-25 Filed 05/03/12 Page 90 of 144
Case 2:10-md-02179-CJB-DPC Document 6430-25 Filed 05/03/12 Page 91 of 144
Case 2:10-md-02179-CJB-DPC Document 6430-25 Filed 05/03/12 Page 92 of 144
Case 2:10-md-02179-CJB-DPC Document 6430-25 Filed 05/03/12 Page 93 of 144
Case 2:10-md-02179-CJB-DPC Document 6430-25 Filed 05/03/12 Page 94 of 144
Case 2:10-md-02179-CJB-DPC Document 6430-25 Filed 05/03/12 Page 95 of 144
Case 2:10-md-02179-CJB-DPC Document 6430-25 Filed 05/03/12 Page 96 of 144
Case 2:10-md-02179-CJB-DPC Document 6430-25 Filed 05/03/12 Page 97 of 144
Case 2:10-md-02179-CJB-DPC Document 6430-25 Filed 05/03/12 Page 98 of 144
Case 2:10-md-02179-CJB-DPC Document 6430-25 Filed 05/03/12 Page 99 of 144
Case 2:10-md-02179-CJB-DPC Document 6430-25 Filed 05/03/12 Page 100 of 144
Case 2:10-md-02179-CJB-DPC Document 6430-25 Filed 05/03/12 Page 101 of 144
Case 2:10-md-02179-CJB-DPC Document 6430-25 Filed 05/03/12 Page 102 of 144
Case 2:10-md-02179-CJB-DPC Document 6430-25 Filed 05/03/12 Page 103 of 144
Case 2:10-md-02179-CJB-DPC Document 6430-25 Filed 05/03/12 Page 104 of 144
Case 2:10-md-02179-CJB-DPC Document 6430-25 Filed 05/03/12 Page 105 of 144
Case 2:10-md-02179-CJB-DPC Document 6430-25 Filed 05/03/12 Page 106 of 144
Case 2:10-md-02179-CJB-DPC Document 6430-25 Filed 05/03/12 Page 107 of 144
Case 2:10-md-02179-CJB-DPC Document 6430-25 Filed 05/03/12 Page 108 of 144
Case 2:10-md-02179-CJB-DPC Document 6430-25 Filed 05/03/12 Page 109 of 144
Case 2:10-md-02179-CJB-DPC Document 6430-25 Filed 05/03/12 Page 110 of 144
Case 2:10-md-02179-CJB-DPC Document 6430-25 Filed 05/03/12 Page 111 of 144
Case 2:10-md-02179-CJB-DPC Document 6430-25 Filed 05/03/12 Page 112 of 144
Case 2:10-md-02179-CJB-DPC Document 6430-25 Filed 05/03/12 Page 113 of 144
Case 2:10-md-02179-CJB-DPC Document 6430-25 Filed 05/03/12 Page 114 of 144
Case 2:10-md-02179-CJB-DPC Document 6430-25 Filed 05/03/12 Page 115 of 144
Case 2:10-md-02179-CJB-DPC Document 6430-25 Filed 05/03/12 Page 116 of 144
Case 2:10-md-02179-CJB-DPC Document 6430-25 Filed 05/03/12 Page 117 of 144
Case 2:10-md-02179-CJB-DPC Document 6430-25 Filed 05/03/12 Page 118 of 144
Case 2:10-md-02179-CJB-DPC Document 6430-25 Filed 05/03/12 Page 119 of 144
Case 2:10-md-02179-CJB-DPC Document 6430-25 Filed 05/03/12 Page 120 of 144
Case 2:10-md-02179-CJB-DPC Document 6430-25 Filed 05/03/12 Page 121 of 144
Case 2:10-md-02179-CJB-DPC Document 6430-25 Filed 05/03/12 Page 122 of 144
Case 2:10-md-02179-CJB-DPC Document 6430-25 Filed 05/03/12 Page 123 of 144
Case 2:10-md-02179-CJB-DPC Document 6430-25 Filed 05/03/12 Page 124 of 144
Case 2:10-md-02179-CJB-DPC Document 6430-25 Filed 05/03/12 Page 125 of 144
Case 2:10-md-02179-CJB-DPC Document 6430-25 Filed 05/03/12 Page 126 of 144
Case 2:10-md-02179-CJB-DPC Document 6430-25 Filed 05/03/12 Page 127 of 144
Case 2:10-md-02179-CJB-DPC Document 6430-25 Filed 05/03/12 Page 128 of 144
Case 2:10-md-02179-CJB-DPC Document 6430-25 Filed 05/03/12 Page 129 of 144
Case 2:10-md-02179-CJB-DPC Document 6430-25 Filed 05/03/12 Page 130 of 144
Case 2:10-md-02179-CJB-DPC Document 6430-25 Filed 05/03/12 Page 131 of 144
Case 2:10-md-02179-CJB-DPC Document 6430-25 Filed 05/03/12 Page 132 of 144
Case 2:10-md-02179-CJB-DPC Document 6430-25 Filed 05/03/12 Page 133 of 144
Case 2:10-md-02179-CJB-DPC Document 6430-25 Filed 05/03/12 Page 134 of 144
Case 2:10-md-02179-CJB-DPC Document 6430-25 Filed 05/03/12 Page 135 of 144
Case 2:10-md-02179-CJB-DPC Document 6430-25 Filed 05/03/12 Page 136 of 144
Case 2:10-md-02179-CJB-DPC Document 6430-25 Filed 05/03/12 Page 137 of 144
Case 2:10-md-02179-CJB-DPC Document 6430-25 Filed 05/03/12 Page 138 of 144
Case 2:10-md-02179-CJB-DPC Document 6430-25 Filed 05/03/12 Page 139 of 144
Case 2:10-md-02179-CJB-DPC Document 6430-25 Filed 05/03/12 Page 140 of 144
Case 2:10-md-02179-CJB-DPC Document 6430-25 Filed 05/03/12 Page 141 of 144
Case 2:10-md-02179-CJB-DPC Document 6430-25 Filed 05/03/12 Page 142 of 144
Case 2:10-md-02179-CJB-DPC Document 6430-25 Filed 05/03/12 Page 143 of 144
Case 2:10-md-02179-CJB-DPC Document 6430-25 Filed 05/03/12 Page 144 of 144
